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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


RICKY R. FRANKLIN,

                   Plaintiff,

             v.
                                                   No. 1:17-cv-1640-SB
NAVIENT, INC.; STUDENT ASSIS-
TANCE, INC.,

                   Defendants.


                                     ORDER

   1. The motion to amend (D.I. 106) is GRANTED.

   2. The summary-judgment order (D.I. 41) and the order altering it (D.I. 96) are
      AMENDED. Navient did not violate the Telephone Consumer Protection Act
      by using an automatic telephone dialing system. Franklin’s claims are lim-
      ited to calls that used an artificial or prerecorded voice.

   3. By July 19, the parties shall confer and submit a proposed amended schedul-
      ing order.



Dated: July 12, 2021                       ____________________________________
                                            UNITED STATES CIRCUIT JUDGE
